                       Case:15-90339-swd        Doc #:6 Filed: 11/15/2015        Page 1 of 4
                                      United States Bankruptcy Court
                                      Western District of Michigan
In re:                                                                                  Case No. 15-90339-swd
Bryan James Foster                                                                      Chapter 7
Lisa Marie Foster
         Debtors
                                        CERTIFICATE OF NOTICE
District/off: 0646-2           User: pastulac               Page 1 of 2                   Date Rcvd: Nov 13, 2015
                               Form ID: b9a                 Total Noticed: 55


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 15, 2015.
db            #+Bryan James Foster,    3312 State Highway M-117,     Newberry, MI 49868-8059
db             +Lisa Marie Foster,    3312 State Highway M-117,     Newberry, MI 49868-8059
ust            +Matthew W. Cheney,    Office of the US Trustee,     The Ledyard Building, 2nd Floor,
                 125 Ottawa NW, Suite 200R,     Grand Rapids, MI 49503-2865
7728630        +89th District Court,    RE: 15-0077-SC,    P.O. Box 110,    Rogers City MI 49779-0110
7728631        +90th District Court,    RE: 14-885-GC-1,    301 State Street,     Charlevoix MI 49720-1391
7728632        +90th District Court,    RE: 15-0382-SC,    200 Division Street,     Petoskey MI 49770-2465
7728633        +Access to Cash,    610 W. Sheridan St., Ste. 5,     Petoskey MI 49770-8798
7728638        +Cloverland Electric,    2916 W. M - 28,    Dafter MI 49724-9761
7728647         Experian,   RE: Seventh Avenue,     P.O. Box 9600,    Allen TX 75013
7728649        +First Bank of Delaware,    Attn: Customer Service,      P.O. Box 11396,    Fort Worth TX 76110-0396
7728650         Helvey and Associates,    RE: Consumer Energy,     1015 E. Center Street,    Warsaw IN 46580-3420
7728653        +Magnum Finance,    P.O. Box 68,    Acme MI 49610-0068
7728654        +Mark A. Kuzma, Attorney,    RE: Magnum Finance,     P.O. Box 68,    Acme MI 49610-0068
7728655        +Newberry Water and Light,    307 E. McMillan Avenue,     Newberry MI 49868-1560
7728656        +Northern Credit Bureau,    RE: Cloverland Electric,     425 Michigan Street,
                 Petoskey MI 49770-4600
7728657        +Onaway Auto and Finance,    P.O. Box 23,    Onaway MI 49765-0023
7728658        +RFGI,   RE: First Bank of Delaware,     P.O. Box 537,    Sycamore IL 60178-0537
7728659        +Sallie Mae,   300 Contenental Drive,     Newark DE 19713-4322
7728660         Seventh Avenue,    1112 7th Avenue,    Monroe WI 53566-1364
7728661        +Superior View Radiology,    P.O. Box 609,    Negaunee MI 49866-0609
7728662        +The Bradford Exchange,    c/o National Recovery Agency,     2491 Paxton Street,
                 Harrisburg PA 17111-1036
7728663        +U.S. Department of Education,     Direct Loans,    P.O. Box 5609,    Greenville TX 75403-5609
7728664        +Verizon Wireless,    Bankruptcy Department,     500 Technology Dr., Ste. 500,
                 Weldon Spring MO 63304-2225

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: dbulson@lighthouse.net Nov 13 2015 21:58:48        David E. Bulson,
                 David E Bulson, LLC,    402 Ashmun St.,   P.O. Box 579,     Sault Ste. Marie, MI 49783
tr             +EDI: QDRDETTMANN.COM Nov 13 2015 21:48:00       Darrell R. Dettmann,    419 W. Washington St.,
                 Marquette, MI 49855-4156
smg             EDI: IRS.COM Nov 13 2015 21:48:00      Internal Revenue Service,     Centralized Insolvency Unit,
                 PO Box 7346,    Philadelphia, PA 19101-7346
smg            +E-mail/Text: MarcsBankruptcyUnit@michigan.gov Nov 13 2015 21:59:53        MI DEPT OF TREASURY,
                 COLLECTION DIVISION/BANKRUPTCY,    PO BOX 30168,    LANSING, MI 48909-7668
smg            +E-mail/Text: bankruptcynoticeschr@sec.gov Nov 13 2015 21:59:18        SECURITIES & EXCHANGE COMM,
                 BANKRUPTCY SECTION,    175 W. JACKSON BLVD.,    SUITE 900,    CHICAGO, IL 60604-2815
ust            +E-mail/Text: ustpregion09.gr.ecf@usdoj.gov Nov 13 2015 21:59:10        Andy Vara,
                 Office of the US Trustee,    The Ledyard Building, 2nd Floor,     125 Ottawa NW, Suite 200R,
                 Grand Rapids, MI 49503-2865
ust            +E-mail/Text: ustpregion09.gr.ecf@usdoj.gov Nov 13 2015 21:59:10        Daniel J. Casamatta,
                 Assistant U.S. Trustee,    Office of the U.S. Trustee,     The Ledyard Building, 2nd Floor,
                 125 Ottawa NW, Suite 200R,    Grand Rapids, MI 49503-2865
ust            +E-mail/Text: ustpregion09.gr.ecf@usdoj.gov Nov 13 2015 21:59:10        Daniel M. McDermott,
                 Office of the US Trustee,    The Ledyard Building, 2nd Floor,     125 Ottawa NW, Suite 200R,
                 Grand Rapids, MI 49503-2865
ust            +E-mail/Text: ustpregion09.gr.ecf@usdoj.gov Nov 13 2015 21:59:10        David W. Asbach,
                 Office of the US Trustee,    The Ledyard Building, 2nd Floor,     125 Ottawa NW, Suite 200R,
                 Grand Rapids, MI 49503-2865
ust            +E-mail/Text: ustpregion09.gr.ecf@usdoj.gov Nov 13 2015 21:59:10        Dean E. Rietberg,
                 Trial Attorney,    Office of the US Trustee,    The Ledyard Building, 2nd Floor,
                 125 Ottawa NW, Suite 200R,    Grand Rapids, MI 49503-2865
ust            +E-mail/Text: ustpregion09.gr.ecf@usdoj.gov Nov 13 2015 21:59:10        Habbo G. Fokkena,
                 Office of the United States Trustee,    Michigan/Ohio Region 9,
                 The Ledyard Building, 2nd Floor,    125 Ottawa NW, Suite 200R,     Grand Rapids, MI 49503-2837
ust            +E-mail/Text: ustpregion09.gr.ecf@usdoj.gov Nov 13 2015 21:59:10        Matthew T. Cronin,
                 Office of the US Trustee,    The Ledyard Building, 2nd Floor,     125 Ottawa NW, Suite 200R,
                 Grand Rapids, MI 49503-2865
ust            +E-mail/Text: ustpregion09.gr.ecf@usdoj.gov Nov 13 2015 21:59:10        Michael V. Maggio,
                 Trial Attorney,    Office of the US Trustee,    The Ledyard Building, 2nd Floor,
                 125 Ottawa NW, Suite 200R,    Grand Rapids, MI 49503-2865
ust            +E-mail/Text: ustpregion09.gr.ecf@usdoj.gov Nov 13 2015 21:59:10        Michelle M. Wilson,
                 Trial Attorney,    Office of the US Trustee,    The Ledyard Building, 2nd Floor,
                 125 Ottawa NW, Suite 200R,    Grand Rapids, MI 49503-2865
ust            +E-mail/Text: ustpregion09.gr.ecf@usdoj.gov Nov 13 2015 21:59:10        Office of the U.S. Trustee,
                 The Ledyard Building, 2nd Floor,    125 Ottawa NW, Suite 200R,     Grand Rapids, MI 49503-2865
ust            +E-mail/Text: ustpregion09.gr.ecf@usdoj.gov Nov 13 2015 21:59:10        United States Trustee,
                 Michigan/Ohio Region 9,    The Ledyard Building, 2nd Floor,     125 Ottawa NW, Suite 200R,
                 Grand Rapids, MI 49503-2837
7728635        +EDI: ATTWIREBK.COM Nov 13 2015 21:48:00       AT&T,   P.O. Box 8100,    Aurora IL 60507-8100
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District/off: 0646-2                  User: pastulac                     Page 2 of 2                          Date Rcvd: Nov 13, 2015
                                      Form ID: b9a                       Total Noticed: 55


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
7728636        +EDI: CINGMIDLAND.COM Nov 13 2015 21:48:00        AT&T,    15 E. Midland Ave., 4th Fl.,
                 Fraud Dept.,    Paramus NJ 07652-2938
7728634         E-mail/Text: june@ar-s.net Nov 13 2015 21:59:03         Account Receivable Solutions,
                 RE: Superior View Radiology,     P.O. Box 184,    Saint Johns MI 48879-0184
7728637        +E-mail/PDF: BANKRUPTCYEBN@CHARTERCOM.COM Nov 13 2015 22:03:51         Charter Communications,
                 Attn: Customer Service,     2 Digital Place, 4th Floor,      Simpsonville SC 29681-5789
7728639         E-mail/Text: bankruptcy_notices@cmsenergy.com Nov 13 2015 21:59:36         Consumers Energy,
                 P.O. Box 30079,    Lansing MI 48937-0001
7728640        +EDI: CONVERGENT.COM Nov 13 2015 21:48:00        Convergent Outsourcing,    RE: Direct TV,
                 800 SW 39th Street,    P.O. Box 9004,    Renton WA 98057-9004
7728641        +EDI: CMIGROUP.COM Nov 13 2015 21:48:00       Credit Management,     RE: Charter Communications,
                 4200 International,    Carrollton TX 75007-1912
7728643         EDI: DIRECTV.COM Nov 13 2015 21:48:00       Direct TV,     2230 E. Imperial Highway,    M S LA1/N368,
                 El Segundo CA 90245-3504
7728642         EDI: DIRECTV.COM Nov 13 2015 21:48:00       Direct TV,     P.O. Box 6414,
                 Carol Stream IL 60197-6414
7728644        +E-mail/Text: nrivers@nrsolutionsllc.com Nov 13 2015 21:59:45         Diverse Funding Assoc.,
                 c/o National Recovery Solution,     P.O. Box 322,     Lockport NY 14095-0322
7728645         EDI: DCI.COM Nov 13 2015 21:48:00       Diversified Consultants,     RE: Direct TV,
                 P.O. Box 551268,    Jacksonville FL 32255-1268
7728645         E-mail/Text: bankruptcynotices@dcicollect.com Nov 13 2015 21:59:51         Diversified Consultants,
                 RE: Direct TV,    P.O. Box 551268,    Jacksonville FL 32255-1268
7728646         E-mail/Text: bknotice@erccollections.com Nov 13 2015 21:59:32         Enhanced Recovery Company,
                 RE: AT&T,    8014 Bayberry Road,    Jacksonville FL 32256-7412
7728648        +EDI: BLUESTEM.COM Nov 13 2015 21:48:00       Fingerhut,     6250 Ridgewood Road,
                 Saint Cloud MN 56303-0820
7728651         EDI: JEFFERSONCAP.COM Nov 13 2015 21:48:00        Jefferson Capital Systems,     RE: Fingerhut,
                 16 McLeland Road,    Saint Cloud MN 56303
7728652        +EDI: RESURGENT.COM Nov 13 2015 21:48:00       LVNV Funding, LLC,     Ste. 110, MS579,
                 P.O. Box 10497,    Greenville SC 29603-0497
7728659        +EDI: SALLIEMAEBANK.COM Nov 13 2015 21:48:00        Sallie Mae,    300 Contenental Drive,
                 Newark DE 19713-4322
7728665         EDI: VERIZONWIRE.COM Nov 13 2015 21:48:00        Verizon Wireless/Southeast,     P.O. Box 26055,
                 Minneapolis MN 55426-0055
                                                                                                 TOTAL: 34

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 15, 2015                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 12, 2015 at the address(es) listed below:
              Darrell R. Dettmann   DDettmann@dettmannlaw.com,
               mrazz@dettmannlaw.com;ddettmann@ecf.epiqsystems.com
              David E. Bulson   on behalf of Debtor Lisa Marie Foster dbulson@lighthouse.net
              David E. Bulson   on behalf of Debtor Bryan James Foster dbulson@lighthouse.net
                                                                                             TOTAL: 3
                      Case:15-90339-swd                  Doc #:6 Filed: 11/15/2015                    Page 3 of 4
B9A (Official Form 9A) (Chapter 7 Individual or Joint Debtor No Asset Case) (12/12)                              Case Number 15−90339−swd
UNITED STATES BANKRUPTCY COURT District of Western District of Michigan

                                              Notice of
                      Chapter 7 Bankruptcy Case, Meeting of Creditors, & Deadlines
      A chapter 7 bankruptcy case concerning the debtor(s) listed below was filed on 11/12/15.

You may be a creditor of the debtor. This notice lists important deadlines. You may want to consult an attorney to protect your Rights.
All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below. NOTE: The staff of the
bankruptcy clerk's office cannot give legal advice.
                   Creditors −− Do not file this notice in connection with any proof of claim you submit to the court.
                                      See Reverse Side For Important Explanations
Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
Bryan James Foster                                                      Lisa Marie Foster
3312 State Highway M−117                                                aka Lisa Marie Stone
Newberry, MI 49868                                                      3312 State Highway M−117
                                                                        Newberry, MI 49868
Case Number:                                                            Social Security/Taxpayer ID/Employer ID/Other Nos.:
15−90339−swd                                                            xxx−xx−0956
                                                                        xxx−xx−5931
Attorney for Debtor(s) (name and address):                              Bankruptcy Trustee (name and address):
David E. Bulson                                                         Darrell R. Dettmann
David E Bulson, LLC                                                     419 W. Washington St.
402 Ashmun St.                                                          Marquette, MI 49855−4320
P.O. Box 579                                                            Telephone number: (906) 228−7355
Sault Ste. Marie, MI 49783
Telephone number: (906)632−1118

                                                       Meeting of Creditors
Date: January 7, 2016                                           Time: 09:00 AM
Location: Federal Building, 202 W. Washington Street, 3rd Floor Courtroom, Marquette, MI 49855

                                  Presumption of Abuse under 11 U.S.C. § 707(b)
                                                See "Presumption of Abuse" on reverse side.
The presumption of abuse does not arise.

                                                               Deadlines:
                           Papers must be received by the bankruptcy clerk's office by the following deadlines:
                  Deadline to Object to Debtor's Discharge or to Challenge Dischargeability of Certain Debts: 3/7/16

                                             Deadline to Object to Exemptions:
                                       Thirty (30) days after the conclusion of the meeting of creditors.

                                       Creditors May Not Take Certain Actions:
In most instances, the filing of the bankruptcy case automatically stays certain collection and other actions against the debtor and the
debtor's property. Under certain circumstances, the stay may be limited to 30 days or not exist at all, although the debtor can request the
court to extend or impose a stay. If you attempt to collect a debt or take other action in violation of the Bankruptcy Code, you may be
penalized. Consult a lawyer to determine your rights in this case.

             Please Do Not File a Proof of Claim Unless You Receive a Notice To Do So.
                                             Creditor with a Foreign Address:
A creditor to whom this notice is sent at a foreign address should read the information under "Do Not File a Proof of Claim at This Time"
on the reverse side.
Address of the Bankruptcy Clerk's Office:                                                        For the Court:
Post Office Building, Room #314                                         Clerk of the Bankruptcy Court:
PO Box 909                                                              DANIEL M. LAVILLE
Marquette, MI 49855
Telephone number: (906)226−2117
Hours Open: Monday − Friday 8:00 AM − 4:00 PM                           Date: 11/13/15
                       Case:15-90339-swd                   Doc #:6 Filed: 11/15/2015                     Page 4 of 4

                                                          EXPLANATIONS                                           B9A (Official Form 9A) (12/12)

Filing of Chapter 7      A bankruptcy case under Chapter 7 of the Bankruptcy Code (title 11, United States Code) has been filed in this court
Bankruptcy Case          by or against the debtor(s) listed on the front side, and an order for relief has been entered.


 Legal Advice             The staff of the bankruptcy clerk's office cannot give legal advice. Consult a lawyer to determine your rights in
                          this case.


Creditors Generally  Prohibited collection actions are listed in Bankruptcy Code §362. Common examples of prohibited actions include
May Not Take Certain contacting the debtor by telephone, mail or otherwise to demand repayment; taking actions to collect money or
Actions              obtain property from the debtor; repossessing the debtor's property; starting or continuing lawsuits or foreclosures;
                     and garnishing or deducting from the debtor's wages. Under certain circumstances, the stay may be limited to 30
                     days or not exist at all, although the debtor can request the court to extend or impose a stay.


Presumption of Abuse If the presumption of abuse arises, creditors may have the right to file a motion to dismiss the case under § 707(b) of
                     the Bankruptcy Code. The debtor may rebut the presumption by showing special circumstances. (Applies to cases
                     filed on or after October 17, 2005)


Meeting of Creditors     A meeting of creditors is scheduled for the date, time and location listed on the front side. The debtor (both spouses
                         in a joint case) must be present at the meeting to be questioned under oath by the trustee and by creditors. Creditors
                         are welcome to attend, but are not required to do so. The meeting may be continued and concluded at a later date
                         without further notice. Please note that possession of cell phones is prohibited at first meetings.


Do Not File a Proof of There does not appear to be any property available to the trustee to pay creditors. You therefore should not file a
Claim at This Time     proof of claim at this time. If it later appears that assets are available to pay creditors, you will be sent another notice
                       telling you that you may file a proof of claim, and telling you the deadline for filing your proof of claim. If this
                       notice is mailed to a creditor at a foreign address, the creditor may file a motion requesting the court to extend the
                       deadline. Do not include this notice with any filing you make with the court.


Discharge of Debts       The debtor is seeking a discharge of most debts, which may include your debt. A discharge means that you may
                         never try to collect the debt from the debtor. If you believe that the debtor is not entitled to receive a discharge under
                         Bankruptcy Code §727(a) or that a debt owed to you is not dischargeable under Bankruptcy Code §523(a)(2), (4), or
                         (6), you must file a complaint −− or a motion if you assert the discharge should be denied under §727(a)(8) or (a)(9)
                         −− in the bankruptcy clerk's office by the "Deadline to Object to Debtor's Discharge or to Challenge the
                         Dischargeability of Certain Debts" listed on the front of this form. The bankruptcy clerk's office must receive the
                         complaint or motion and any required filing fee by that Deadline.


Exempt Property          The debtor is permitted by law to keep certain property as exempt. Exempt property will not be sold and distributed
                         to creditors. The debtor must file a list of all property claimed as exempt. You may inspect that list at the bankruptcy
                         clerk's office. If you believe that an exemption claimed by the debtor is not authorized by law, you may file an
                         objection to that exemption. The bankruptcy clerk's office must receive the objections by the "Deadline to Object to
                         Exemptions" listed on the front side.


Bankruptcy Clerk's       Any paper that you file in this bankruptcy case should be filed at the bankruptcy clerk's office at the address listed
Office                   on the front side. You may inspect all papers filed, including the list of the debtor's property and debts and the list of
                         the property claimed as exempt, at the bankruptcy clerk's office.


Creditor with a          Consult a lawyer familiar with United States bankruptcy law if you have any questions regarding your rights in this
Foreign Address          case.


Abandonments             Trustees may abandon property in no asset estates without notice to creditors or other interested parties. Anyone
                         wishing to receive notice of such abandonment must file a request with the Court.


                               Refer to Other Side for Important Deadlines and Notices
